                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                 EASTERN DIVISION

                                                                     CIVIL NO. 3:23-cv-00142

 SOPHIA WILANSKY,                               )
                                                )
                       Plaintiff,               )
                                                )
                       vs.                      )
                                                )
 PAUL D. BAKKE, in his personal capacity;       )
 THOMAS M. GROSZ, in his personal               )
 capacity; MATTHEW J. HANSON, in his            )
 personal     capacity;   MICHAEL      W.       )
 HINRICHS, in his personal capacity;            )
 TRAVIS A. NELSON, in his personal              )
                                                        AFFIDAVIT OF SHAWN A. GRINOLDS
 capacity; JOSHUA W. RODE, in his               )
 personal capacity; EV AN M. SAVAGEAU,          )
 in his personal capacity; TRAVIS M.            )
 SKAR, in his personal capacity; GLEN G.        )
 TERNES, in his personal capacity; JUSTIN       )
 W. WHITE, in his personal capacity;            )
 DEREK J. ARNDT, in his personal                )
 capacity; KYLE KIRCHMEIER, in his              )
 official capacity; and MORTON COUNTY,          )
 NORTH DAKOTA,                                  )
                                                )
                      Defendants.               )

              ***                              ***                       ***

STATE OF NORTH DAKOTA                  )
                                       ) SS.
COUNTY OF BURLEIGH                     )

      Being duly sworn, Shawn A. Grinolds testifies:

1.    I am an attorney duly licensed to practice law in the State ofN01ih Dakota and am admitted

      to practice before this Court.

2.    I am a member of the firm of Bakke Grinolds Wiederholt, attorneys for Defendants Morton

      County, Kyle Kirchmeier, in his official capacity only, Thomas M. Grosz, Matthew J.


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      Hanson, Glen G. Ternes, and Justin White in this action. I have personal knowledge of the

      facts stated herein.

3.    Attached hereto as Exhibit A is a true and correct copy of the deposition transcript of

      Sophia Wilansky taken on February 17, 2021.

4.    Attached hereto as Exhibit B is a true and correct copy of a photograph of a metal fragment

      that was removed from Wilansky's arm at the Hennepin County Medical Center shortly

      following the explosion.

5.    Attached hereto as Exhibit C is a true and correct copy of former North Dakota Governor

      Jack Dalrymple's Executive Order 2016-04 dated August 19, 2016.

6.    Attached hereto as Exhibit Dis a true and correct copy of a press release from the North

      Dakota National Guard dated September 8, 2016 entitled "State Officials Enhance Law

      Enforcement Presence as Precautionary Measure.".

7.    Attached hereto as Exhibit Eis a true and correct copy a press release from Morton County

      and the Nmih Dakota Depaiiment of Emergency Services dated October 7, 2016 entitled

      "State Requests Additional Resources to Support Law Enforcement Effo1is."

8.    Attached hereto as Exhibit Fis a true and correct copy of a Site Map depicting the locations

      of protester camps and related areas of interest during the time frames at issue.

9.    Attached hereto as Exhibit G is a true and correct copy of Corrective Warranty Deed from

      David A. Meyer and Brenda K. Meyer, husband and wife, to Dakota Access, LLC executed

      December 14, 2016, effective September 20, 2016.

10.   Attached hereto as Exhibit His a true and correct copy of Unified Incident Command

      Request for Supp01i dated October 7, 2016.




                                                2
11.   Attached hereto as Exhibit I is a true and correct copy of North Dakota Department of

      Transportation Press Release issued October 28, 2016.

12.   Attached hereto as Exhibit J is a true and con-ect copy of North Dakota Department of

      Transportation Press Release dated October 31, 2016 entitled "ND Highway 1806 bridge

      to remain closed north of Cannonball."

13.   Attached hereto as Exhibit K is a true and correct copy of a letter from Corps District

      Commander Col. Henderson to Morton County Sheriff Department dated November 1,

      2016, with attached map.

14.   Attached hereto as Exhibit Lis a true and con-ect copy of United States Army Corps of

      Engineers' ("USACE") Release no. 20160916-002 entitled "U.S. Army Corps of

      Engineers grants Special Use Permit to Standing Rock Sioux Tribe" indicating it was

      posted September 16, 2016.

15.   Attached hereto as Exhibit Mis a true and con-ect copy ofUSACE Release No. 20161127-

      001 entitled "Omaha District Commander provides update regarding North Dakota

      activities", indicating it was posted November 27, 2016.

16.   Attached hereto as Exhibit N is a true and correct copy of Department of the Army Lease

      for Agricultural or Grazing Purposes to Dave Meyer dated April 8, 2014.

17.   Attached hereto as Exhibit O is a true and con-ect copy of Morton County Board of

      Commissioners Emergency Declaration of Civil Umest dated August 15, 2016.

18.   Attached hereto as Exhibit P is a true and correct copy of a video file named

      "Aircraft_nov20" obtained from and taken by the North Dakota Highway Patrol. The

      video depicts the protest scene at the Backwater Bridge on November 20, 2016 from

      17:58:22 to 22:05:40 (military time).



                                               3
19.    Attached hereto as Exhibit Q is an Index to Aerial Infrared Video (pertaining to Exhibit

       P).

       Dated this 30th day of October, 2023.




                                                                     A. rinolds (#05407)
                                                                       Assistant State's Attorneys for
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                                                              Attorneys for Defendants Morton County,
                                                              Kyle Kirchmeier, Thomas Grosz, Matthew
                                                              Hanson, Glen Ternes, Justin White

STATE OF NORTH DAKOTA                             )
                                                  ) ss.
COUNTY OF BURLEIGH                                )

        The foregoing Affidavit of Shawn A. Grinolds was subscribed and sworn to before me,
a notary public, by Shawn A. Grinolds, this 30th day of October, 2023.


                    SARAH MARTIN
                     Notary Public
                 State of North Dakota
         My Commission Expires October 28, 2025




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                                 CERTIFICATE OF SERVICE
       I hereby certify that on October 30, 2023, a true and correct copy of the foregoing
AFFIDAVIT OF SHAWN A. GRINOLDS was filed electronically with the Clerk of Court
through ECF.

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                                         By:    Isl Shawn A. Grinolds
                                                SHAWN A. GRIN OLDS

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